
Win Feng LLC, Petitioner-Landlord-Respondent,
againstJeffrey Adam Lawrence, Respondent-Tenant-Appellant, and "John Doe" and/or "Jane Doe," Respondents-Undertenants.



Tenant appeals from an order of the Civil Court of the City of New York, New York County (Anne Katz, J.), entered December 15, 2016, which, in a nonpayment summary proceeding, granted landlord's motion for attorneys' fees and directed a hearing to determine the reasonable value of such fees.




Per Curiam.
Order (Anne Katz, J.), entered December 15, 2016, affirmed, with $10 costs.
Civil Court properly concluded that landlord was the prevailing party entitled to attorneys' fees in this nonpayment proceeding, which was resolved via a so-ordered stipulation of settlement, whereby tenant withdrew his answer, consented to the entry of judgment for the rent arrears sought by landlord without setoff or abatement, and whose terms expressly reserved landlord's right to seek attorneys' fees (see Excelsior 57th Corp. v Winters, 227 AD2d 146 [1996]; Peachy v Rosenzweig, 215 AD2d 301 [1995]). The record discloses no manifest unfairness or bad faith by landlord that would justify a denial of its right to seek attorneys' fees pursuant to the legal fees provision in the parties' lease (see Matter of 251 CPW Hous. LLC v Pastreich, 124 AD3d 401, 404 [2015]).
THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.
I concur I concur I concur
Decision Date: September 19, 2018










